                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT GREENVILLE


  UNITED STATES OF AMERICA                     )
                                               )
                                               )
  v.                                           )       Case No.      2:15-CR-00026
                                               )                     Judge J. Ronnie Greer
                                               )
  JOSHUA COLLINS                               )


       RESPONSE TO COURT’S SHOW CAUSE ORDER AND MOTION TO WITHDRAW

          On July 11, 2023, this Court entered an order requiring undersigned counsel to show cause

  as to why counsel was not present at Mr. Collins’ revocation hearing on July 10, 2023. The

  following response is respectfully submitted and, based on the below information, counsel also

  respectfully moves this Court to be permitted to withdraw as counsel of record for Mr. Collins.

          1.     On October 27, 2021, The Garza Law Firm entered notice of appearance in Mr.

  Collins’ case. See Doc. 48. Undersigned counsel was employed as an associate attorney by the

  Garza Law Firm at the time and was listed on the notice of appearance. Undersigned counsel did

  not personally make any appearances in Mr. Collins’ case and did not individually submit any

  pleadings on the case (other than any which may have listed all Garza Law Firm attorneys in the

  signature block).

          2.     Undersigned counsel resigned from the Garza Law Firm on December 31, 2021

  and has been practicing elsewhere since that time.

          3.     Counsel should have, but did not, move to withdraw as counsel of record for Mr.

  Collins after he concluded his employment with the Garza Law Firm. In the time after leaving the

  Garza Law Firm, counsel also should have, but did not, notice any case activity emails in Mr.




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  Collins’ case that still listed him as counsel of record.

         4.      Because he is no longer an employee of the Garza Law Firm, counsel did not appear

  for Mr. Collins’ revocation hearing on July 10, 2023. For this reason, counsel also respectfully

  moves this Court to permit him to withdraw as counsel of record.

         5.      I declare under penalty of perjury that the foregoing is true and correct.

         Respectfully submitted,

                                                 _________________________________
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                                    CERTIFICATE OF SERVICE

         I, Tyler M. Caviness, hereby certify that a copy of motion was filed electronically on July

  11, 2023. Notice of this pleading will be sent by operation of the Court’s electronic filing system

  to all parties indicated on the electronic filing receipt. Parties may access this document through

  the Court’s electronic filing system.

                                                 _________________________________
                                                 TYLER M. CAVINESS




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